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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                                 X
  WILLIAM R. NOLAN,

                                       Plaintiff,

                   -against-
                                                                       Index. No.: 19-cv-00187-RPK-ST
  THE CITY OF NEW YORK, and
  JOSEPH REZNICK, and                                                  REQUEST FOR
  RAYMOND SPINELLA, and                                                CERTIFICATE OF
  MICHAEL BARRETO, and                                                 DEFAULT
  ASIF IQBAL, and POLICE DETECTIVE JAMES
  BUTLER, and POLICE OFFICER BRYAN BURGESS,
  and POLICE OFFICER JOHN DOE, all in their
  individual and official capacities, and JOSE
  RODRIGUEZ, individually,

                                    Defendants.
                                                                 X

  TO:    BRENNA B. MAHONEY
         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK

         Plaintiff, WILLIAM R. NOLAN, respectfully requests that the Clerk of Court enter the

  default of Defendant JOSE RODRIGUEZ, pursuant to Rule 55(a) of the Federal Rules of Civil

  Procedure and Local Rule 55.1 of the Local Rules of the United States District Courts for the

  Southern and Eastern Districts of New York, for failure to plead or otherwise defend this action as

  fully appears from the court file herein and from the attached affirmation of Andrew C. Weiss,

  Esq.
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  Dated: Garden City, New York
         October 27, 2023
                                                   Respectfully submitted,

                                                   BORRELLI & ASSOCIATES, P.L.L.C.


                                         By:       ___________________________________
                                                   ANDREW C. WEISS, ESQ.
                                                   MICHAEL J. BORRELLI, ESQ.
                                                   Attorneys for Plaintiff
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